          Case 4:10-cv-00529-JAJ Document 16 Filed 07/08/11 Page 1 of 1

                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 11-1552
                                      ___________________

                                     Kerwin Lamont Summage

                                              Petitioner - Appellant

                                                  v.

                                     United States of America

                                   Respondent - Appellee
______________________________________________________________________________

       Appeal from U.S. District Court for the Southern District of Iowa - Des Moines
                                   (4:10-cv-00529-JAJ)
______________________________________________________________________________

                                           JUDGMENT

Before MELLOY, COLLOTON, and BENTON, Circuit Judges

       This appeal comes before the court on appellant's application for a certificate of

appealability. The court has carefully reviewed the original file of the district court, and the

application for a certificate of appealability is denied. The appeal is dismissed.

                                                       July 01, 2011




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 11-1552          Page: 1      Date Filed: 07/01/2011 Entry ID: 3803724
